Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 1of13

et FORM TO BE USED BY A PRISONER FILING A
42 U.S.C, 6 1983 CIVIL RIGHTS COMPLAINT
IN THE UNITED STATES PISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Cory gillens 19 5791

(Enter the full namte of dle plaintiff or plaintiffs)
¥,

Jaton Vo thStocn FIL!

v

DEC 095 2019 A VERS
KATE BARKMAN, Clerk .
IL PARTIES y wu ubep. Cle

(Enter the full name of the defendant or defendants)

a. Plaintiff

Full name: Wels aga
e = Seater oe er Wun ede tow, i
g
Prison Identification number: Lb I % j Uf _
Tq | end ieee
Place of present confinement: Lep [Seu Gb i
U
Address:

Place of confinement at time of incidents or conditions alleged in complaint, including address:

Additional plaintiffs: Provide the same information for any additional plaintiffs on the reverse of
this page or on a separate sheet of paper.

b, Defendants: (list only those defendants named in the caption of the comptaint, section I)

t , .
i. Full name including title: I ELA Vlof LSE Ue
Place of employment and section or unit: LS al Wut [4o ct [4 eet 2c} <

o ; b
2, Full name including title: |v h wl D> Oe L

Place of employment and section or unit:

oben wy ‘
3. Full name including title: 4 she L? eC C. 2

Place of employment and section or unit:

ee

’ , } Ps
4. Full name including title: © \ mh bln ge L}
a oe 7—t

Place of enplayment and section or unit:

Additional defendants: Provide the same information for any additional defendants on the reverse of
this page or on a separate sheet of paper.

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Hi, PREVIOUS LAWSUITS
Instructions:
ifvou have filed other lawsuits in any federal or state court dealing with the same facts as this
complaint or other facts related to your imprisonment, you must provide the information requested
below. Ifyou have not filed other lawsuits, proceed to Section IV, Administrative Remedies, on
this page.
Ifyou have filed other lawsuits, provide the following information.
Parties fo your previous lawsuit:

Plaintiff WO brite hawebst tS

Defendants

fssues: |

Court: if federal, which district?

if state, which county?

Docket nuniber: Date filed:

Name of presiding judge:

Disposition: (check correct answer(s}); Date:

Dismissed __—- Reason?
Judement ss In whose favor?
Pending ss Current status?
Other ss Explain

Appeal filed? Current status?

Additional lawsuits. Provide the same information concerning any other lawsuits you have filed
concerning the same facts as this action or other facts related fo your iniprisonment. You may use
the back of this page or a separate sheet of paper for this purpose.

iv ADMINISTRATIVE REMEDIES

fastructions:

Provide the information requested below if there is an administrative procedure to resolve the
issues your raise in this complaint, Examples of administrative procedures include review of
grievances, disciplinary action, and custody issues. Ifno administrative procedures apply to the
issues in this complaint, proceed to Section V, Statement of Claim, on page 4.

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a. Describe the administrative procedures available to resolve the issues raised in this complaint:

Type of procedure. (grievance, disciplinary review, etc.)

Bae Fe Gee etl * bb dU

Authority for procedure, {(DC-ADM, inmate handbook, etc.)

Formal or informal procedure.

Who conducts the initial review?

What additional review and appeals are available?

b, Describe the administrative procedures you follawed to resolve the issues raised in this complaint
before filing this complaint:

On what date did you request initial review?

What action did you ask prison authorities to take?

What response did you receive fo your request?

What further review did you seek and on what dates did you file the requests?

What responses did you received to your requests for further review?

ce. Ifyou did not follow each step of the administrative procedures available to resolve the issues
raised in this coniplaint explain why?

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v STATEMENT OF CLAIM

Instructions:

State here as briefly as possible the facts of your case. Use plain language and do not make legal
arguments or cite cases or statues. State how each defendant violated your constitutional rights.
Although you may refer to any person, make claims only against the defendants listed in the
Caption, Section 1 Make only claims which are factually related. Each claim should be numbered
and set forth in a separate paragraph with an explanation of how the defendants were involved.

Use the reverse of this page or a separate sheet of paper if you need more space.

Statement of Claim:

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. ae Fle y back
“x Caf 90k4_anef Lily Merpededl f W.k Mech
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tot! polo A de Pei ba Shed th ties.
Vehicle Pet) Sao fyb, Uieea prr-t0¢ Ltt
Go Wty of Khe GLE a be. LF) danty CLAM pon
whtin pt acced Lobe LEP Move Lf. LV Gt SA Sy

VE RELIEF

instructions: Briefly state exactly what you want the Court to do for you.

% allen

Relief sought:

y, yee tt fe. eh ,

fie Zz ou if ta

f- 2
VIEL. DECLARATION AND SIGNATURE
f (we) dectare under penalty of perjury that the foregoing is true and correct.

fa Ng 10 if A) ij
/

DATE ~~ SIGWA TURE OF PLAIN TIMP fi a

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INSTRUCTIONS TO PRISONERS FILING AN
APPLICATION TO PROCEED IN FORMA PAUPERIS IN A
42, U.S.C, 5 1983 CIVIL RIGHTS ACTION
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NOTICES

* Informa pauperis status does not mean that payment of the $150 filing fee is waived.
If you are granted leave to proceed in forma pauperis you will be required to pay the full $150 fee to file
your complaint, even if the complaint is dismissed prior to service, The Court will assess and collect an
initial partial filing fee from your inmate account, if funds exist. The unpaid balance will be deducted from
your account in installments as funds become available, Inability to pay the initial partial filing fee will not
prohibit you filing a civil rights action,

* The Court may deny your Application to Proceed In Forma Pauperis if three or more
of your prior complaints or appeals filed in Federal Court were dismissed as frivolous, malicious, or for
failure to state a claim upon which relief may be granted. In that case, you will be required to pay the $150
filing fee to commence the civil rights action.

COMPLETING THE APPLICATION TO PROCEED IN FORMA PAUPERIS

* The application form consists of two pages. All entries on the form must be typed or
legibly handwritten.

* Show your full name as plaintiff in the caption. Also show the full names of any
additional plaintiffs in the caption. Each additional plaintiff, if any, must submit a separate Application to
Proceed In Forma Pauperis, The full names of all defendants must be listed in the caption. The caption of
the application form should be identical to the caption of the complaint.

‘ All information requested in the application form must be provided. If you cannot
provide all information you must provide an explanation,

« Sign and date the application and the declaration that the facts slated in the
application are true and correct.

CERTIFICATION

*« Request that a prison official complete the certification of your inmate trust fund
account balances on page 2 of the application form. Secure a certified copy of the statement of your inmate
trust fund account for all institutions in which you were confined for the six-month period preceding the
filmg of the complaint, listing all deposits and withdrawals from the account. The certified account
balances and the account staterent(s) must be signed and dated by a prison official, and must show the
official’s title.

FILING AN APPLICATION

¢ Provide the original application form and certified inmate account statement for use
by the Court. Keep copies of both documents for your records,

« Mail the original complaint, application form, and certified account statement to:
Michael E. Kunz, Clerk, U.S. District Court, Eastern District of Pennsylvania, 2609 U.S, Courthouse, 601
Market Street, Philadelphia, PA 19106-1797,

Case 5:19-cv-05791-ER Document 2 Filed 1
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109/19 , e 6 of 13..
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COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY TO

Docket Number: CP-48-CR-0002899-2019 |
CRIMINAL DOCKET j/)
Court Case ko

Commonwealth of Pennsylvania fe
¥ Page 10f5 FO Soc ecsnng

Judge Assigned: Date Fited: 09/03/2019 Initiation Date: 07/06/2019
OTN: X 271430-5 LOTN: X 271430-5 Originating Docket No: MJ-03301-CR-0000212-2019 (2
Initial Issuing Authority; Robert A. Hawke Final Issuing Authority: Robert A. Hawke
Arresting Agency: Walnutport Police Dept Arresting Officer: Nothstein, Jason A. bt.
Complaint/Incident #: WB 19 00922
Case Local Number Type(s) Case Local Number(s) |

é

Case Status: Active Status Date Processing Status 07/06/2019
41/07/2019 Awaiting Trial
09/04/2019 Awaiting Formal Arraignment
09/03/2018 Awaiting Filing of Information

Complaint Date: 07/06/2019

Case Calendar Schedule Start Room -  §chedule
Event Type Start Date Time Status
Bail Reduction 09/43/2019 40:00 am Courtroom 4 Moved
Hearing

Bail Reduction 10/18/2019 10:00 am Courtroom 4 Scheduted
Hearing

Fornal Arraignment 11/07/2019 9:00 am Courtroom 4 . Scheduled
Criminal Court 04/06/2020 9:00 am Courtroom 1 Scheduled

Confinement Confinement Destination Confinement StilLin
Known As Of Type Location Reason Custody
14/14/2019 County Jail LEHIGH COUNTY JAIL - RECEPTI Yes

Of Birth: 12/22/1969 City/State/Zip: Allentown, PA 18102
Alias Name
Cory, Gillins A.
Gillians, Cory Allen
Gillins, Cory

Gillins, Cory Allen

Participant Type Name
Defendant Gillins, Cory A.
CPCMS 9082

Printed: 11/20/2018
Recenl entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the cours of the Unified Judicial
System of the Commonweaith of Pennsylvania nor the Administrative Office of Pennsylvania Courts asstime any fability for inaccurate or delayed
data, errors or omissions on these reports. Dooket Sheet information should not be used in place of a criminai history background check which cars
only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
Information Act may be subject to civil lability as set forth in 18 Pa.C.S. Section 9183.

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Thank. tfiel

Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 7 of 13

COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY

Docket Number: CP-48-CR-0002899-2019
CRIMINAL DOCKET

Court Case
Commonwealth of Pennsylvania
¥ Page 2 of 5
Cory A. Gillins

Gillins, Gory A. Nebbia Status: None
Bail Action Date Bail Type Percentage Amount
Bail Posting Status Posting Date
Set O7/06/2019 Monetary $20,000.00
Set 09/13/2019 Monetary $5,000.00
Seq. Orig Seq. Grade Statute Statute Description Offense Dt. OTN
1 8 M 75 § 3802 §§ Diii* DUI: Controlled Substance - Metabolite - 1st 07/06/2019 X 271430-5
Offense
2 1 M 78 § 3802 §§ D2* DUI: Controlled Substance - Impaired Ability o7/og/2019 =——-X 271430-5
siinun! : ist Offense 7 <u cme oe
3 2 F2 18 § 2702 §§ AS Aggravated Assaut 7/06/2019 X 271430-5
4 3 “M2 48 § 2701 §§ A1 Simple Assault “On06/2019 «xX 271430-5
5 4 “M2 -48.§ 5104 "Resist Arrest/Other Law Enforce 07/06/2019 X 2714305
6 - “5 — M_ _— 35 § 780-4113 §§ A32  UselPoss Of Drug Paraph — — "07/06/2019 X 271430-5
7 6  §  78§ 4303 §§A No Headlights ee" O706/2019 = -X271430-5
8 7 M 75 § 3802 §§ Di" DUL Controlled Substance - Metabolite 1st 07/06/2019 X 271430-5
Offense
Disposition
Case Event Disposition Date Final Disposition
Sequence/Description Offense Disposition Grade Section
Sentencing Judge Sentence Date Credit For Time Served
Sentence/Diversion Program Type Incarceration/Diversionary Period Start Date
Sentence Conditions
Waived for Court (Lower Court) Defendant Was Present
Lower Court Disposition 08/28/2019 Not Finat
2 / DUE Controlted Substance - Impaired Ability - tst Waived for Court (Lower Court) M 75 § 3802 §§ D2*
Offense
3/ Aggravated Assault Waived for Court (Lower Court) F2 18 § 2702 §§ A3
4/ Simple Assauit Waived for Court (Lower Court} M2 18 § 2701 §§ Al
5/ Resist Arrest/Other Law Enforce Waived for Court (Lower Court} M2 48 § 5104
6 / Use/Poss Of Drug Paraph Waived for Court (Lower Court} M 35 § 780-113 §§ A32
7 / No Headiights Waived for Court (Lower Court} § 75 § 4303 §§ A
8/DUL Controlled Substance - Metabolite - ist Offense Waived for Court (Lower Court} M 75 § 3802 §§ Dtiii*
Proceed to Court Defendant Was Not Present
Information Filed 11/04/2019 Not Final
CPCMS 9082 Printed, 14/20/2019

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
Systern of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsyivania Courts assume any liability for inaccurate or delayed
data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can
onty be provided by the Pennsylvania State Police, Moreover an employer who does not comply with the provisions of the Criminat History Record
information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 8 of 13

COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY

Docket Number: CP-48-GR-0002899-2019
CRIMINAL DOCKET

Court Case
Commonwealth of Pennsylvania
y Page 30f5
Cory A. Gillins

Disposition
Case Event Disposition Date Final Disposition

Sequence/Description Offense Disposition Grade Section

Sentencing Judge Sentence Date Credit For Time Served

Sentence/Diversion Program Type Incarceration/Diversionary Period Start Date
Sentence Canditions

1/ DUE Controlled Substance - Metabolite - tst Offense Added by Information M 75 § 3802 §§ Dtiii*
2/ BU Controfled Substance - Impaired Ability - tst Proceed to Court M 75 § 3802 §§ D2*
Offense
3./ Aggravated Assault Proceed to Court F2 18 § 2702 §§ AS
4/ Simple Assault Proceed to Court M2 18 § 2701 §§ Al
5/ Resist Arrest/Other Law Enforce Proceed to Court M2 18§5104
6 / Use/Poss Of Drug Paraph Proceed to Court M 35 § 780-113 §§ A32
7 / No Headlights Proceed to Court 5 75 § 4303 §§ A
8/ BUI: Controlled Substance - Metabolite - 1st Offense Proceed to Court M 75 § 3802 §§ D tii

Name Sandra Foster McClure

District Attorney

Supreme Gourt No: 073234
Phone Number(s}:

484-767-0295 (Phone)
Address:

Northampton Co Goy'T Center

669 Washington St

Easton, PA 18042-7490

Sequence Number CP Filed Date Document Date Filed By
1 07/14/2019 Connell, James Martin
Entry of Appearance
41 69/03/2019 Court of Common Pleas -
Northampton County

Original Papers Received from Lower Court

1 09/04/2019 Criminal Division - Northampton
Formal Arraignment Scheduled 11/07/2019 9:00AM

1 08/12/2019 Northampton County Clerk of Courts
Bail Reduction Hearing Scheduled 09/13/2019 10:00AM

CPCMS 9082 Printed: 11/20/2019

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System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
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Infarrnation Act may be subject to civil fiability as set forth In 18 Pa.Cc.S, Section 9183.

Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 9of13

Docket Number: CP-48-CR-0002899-2019
CRIMINAL DOCKET

Court Case
Commonwealth of Pennsylvania
y Page 4 of 5
Cary A. Gillins

Sequence Number CP Filed Date Document Date Filed By
1 _ 09/13/2019 McFadden, F.P. Kimberly

Baif Set - Gillins, Cory A.

2 09/13/2019 McFadden, F.P. Kimberly
Bail Reduction Hearing Held - 9/13/19

1 09/16/2019 Connell, James Martin
Mation for Medification of Bail

2 09/16/2019 Connell, James Martin
Certificate of Service

1 09/25/2019 Narthampton County Clerk of Courts
Criminal Court Scheduled 01/06/2020 9:00AM

1 16/10/2019 Northampton County Clerk of Courts
Bail Reduction Hearing Scheduled 10/18/2019 10:COAM

1 11/07/2049 Court of Common Pleas -
Northampton County
Atraigned
1 11/12/2019 Dally, Craig A,

Petition & Order Granting Motion for Parole

CPOMS 8082 Printed: 11/20/2019

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability far inaccurate or delayed
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Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 10 of 13

COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY

Docket Number: CP-48-CR-0002899-2019
CRIMINAL DOCKET

Court Case
Cc ith of fvani
ommanwea ° Pennsylvania Page 5 of 5
Cary A. Gillins

Last Payment Date: Total of Last P y
Gillins, Cory A. Assessment Payments Adjustments Non Monetary Total
Defendant Payments

Costs/Fees

Server Fee - Referred to County $107.00 $0.00 $0.00 $0.00 $107.00

Server Fee - Referred to County $107.00 $0.00 $6.00 $0.00 $107.00

Costs/Fees Totals: $214.08 $0.00 $0.00 $0.00 $274.00

Grand Totals: $214.60 $0.00 $0.00 $0.00 $214.00

**. indicates assessment is subrogated

CPCMS 9082 Printed: 11/20/2019

Recent entries made in the court filing offices may not be immediately sefiected on these dackel sheets . Neither the courts of the Unified Judicial
System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
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Information Act may be subject te civil liability as set forth in 18 Pa.C.S. Section 9183.

Case 5:19-cv-05791-ER Document 2 Filed 12/09/19 Page 11 of 13

UNITED STATES DISTRICT COURT 1 9 5
ee FOR THE EASTERN DISTRICT OF PENNSYLVANIA " Go I
DESIGNATION FORM .
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar}
Address of Plaintiff: 38 N. 4th Street, Allentown, PA 18102
Address of Defendant:
Place of Accident, Incident or Transaction: Lehig h

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No [|
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [] No [|
pending or within one year previously terminated action in this court?

3. Does this case invalve the validity or infringement of a patent already in suit or any earlier Yes [| No | |
numbered case pending or within one year previously terminated action of this court?

4. is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [|
case filed by the same individual?

I certify that, to my knowledge, the within case [7 is / ([] is not related to any case now pending or within one year previously terminated action in
this court except as noted above,

pate. 12/09/2019 Mamist  MeGtina

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)
CIVIL: (Place a Vin one category only}
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[1 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
f] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
LF] 4. Antitrust L] 4. Marine Personal Injury
5. Patent [I 5. Motor Vehicle Personal Injury
H 6. Labor-Management Relations [} 6. Other Personal Injury (Piease specify):
7. Civil Rights Cj 7. Products Liability
Cl 8. Habeas Corpus LI 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases [] 9. Allother Diversity Cases
[] 10. Social Security Review Cases (Please specify):
[] 11. Allother Federal Question Cases
(Please specify):

ARBITRATION CERTIFICATION
(The effect af this certification is to remove the case from eligibility for arbitration.)

I, , counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $156,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

DATE:

Atforney-at-Law / Pro Se Plaintiff Aitorney LD. # (if applicable)

NOTE: A trial de nove will be a trial by jury only if there has been compliance with F.R.C.P, 38.

Civ, 609 (5/2018)

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Gillins : CIVIL ACTION

° : no. 19 5791

Nothstein, et. al.

In accordance with the Civil Justice Expense and Delay Reduction Pian of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the
time of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth
on the reverse side of this form.) In the event that a defendant does not agree with the plaintiff

_ regarding said designation, that defendant shall, with its first appearance, submit to the clerk

of court and serve on the plaintiff and all other parties, a Case Management Track Designation
Form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
{a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. (_)

{b) Social Security - Cases requesting review of a decision of the Secretary of Health and Human
Services denying plaintiff Social Security Benefits. (_)

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. (L])

(d) Asbestos ~ Cases involving claims for personal injury or "property damage from
exposure to asbestos. (L])

(e} Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases. (_L}
(f) Standard Management - Cases that do not fall into any one of the other tracks. 550 (x)
DEC - 9 2019 Sani Melramat
Date Deputy Clerk Attorney for
Telephone FAX Number . E-Mail Address

{Civ. 660} 10/02

Case 5:19-cv-05791-ER Document 2. Filed 12/09/19 Page 13. of 13

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